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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
JAMES E. PIETRANGELO, II                   )
                                           )
                        Plaintiff,        )  Judge Dabney L. Friedrich
                                           )
            v.                             ) Civil Action No. 1:18-cv-01943-DLF
                                           )
REFRESH CLUB, INC. (dba THE WING), and     )
THE WING DC, LLC (dba THE WING aka         )
THE WING DC)                               )
                                           )
                        Defendants.       )
__________________________________________)

                                                   ORDER

       Upon consideration of Plaintiff ’s Motion to Compel Against Defendants Refresh Club, Inc.

dba The Wing and The Wing DC, LLC (herein collectively, “Defendant”), Defendant’s opposition

thereto and Plaintiff ’s Reply thereto, if any, it is this ___ day of ___________, 20__, hereby

ORDERED that Plaintiff ’s Motion be, and it hereby is, granted, with the following relief:

___    Defendant is required to designate knowledgeable corporate representatives for and to

       appear and answer questions at a second Fed.R.Civ.P. 30(b)(6) deposition at a location, date,

       and time of Plaintiff ’s sole choosing within twenty (20) days of entry of this Order;

___    Defendant is required to pay for all of the expenses of the second Fed.R.Civ.P. 30(b)(6)

       deposition, including but not limited to Plaintiff ’s travel, location, court reporter, and

       transcript costs;

___    Defendant is required to truthfully, fully, and knowledgeably answer Plaintiff ’s Interrogatory

       No. 5 within twenty (20) days of entry of this Order;

___    Defendant is required to fully produce all documents responsive to each of Plaintiff ’s 47

       denied RFPs within twenty (20) days of entry of this Order;




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___    Defendant is required to pay Plaintiff ’s reasonable expenses in bringing his Motion and

       having it heard;

____   and the following just relief:




IT IS SO ORDERED.

                                                     __________________________
                                                     Dabney L. Friedrich
                                                     United States District Court Judge
Copies to:

James E. Pietrangelo, II
Plaintiff Pro Se

Karen L. Dunn
Jessica Phillips
Christopher D. Belelieu
BOIES SCHILLER FLEXNER LLP
Counsel for Defendants




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